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Pagelof4 PagelD #: 38

UNITED STATES DISTRICT COURT

DISTRICT OF HAWAIT

ANTHONY FERRETTI,
Plaintiff,
Vv.

BEACH CLUB MAUI, INC., JOHN
DOES 1-5, JOHN DOE
CORPORATIONS

1-5, JOHN DOE PARTNERSHIPS
1-5, ROE NON-PROFIT
CORPORATIONS 1-5, AND ROE
GOVERNMENTAL AGENCIES 1-5,

Defendants.

 

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CERTIFICATE OF
COMPLIANCE/SERVICE;
CERTIFICATE OF SERVICE
CASE NO. 1:18-mc-00057-
JMS~RLP

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CERTIFICATE OF COMPLIANCE/SERVICE
Pursuant to the Court’s order, counsel for Plaintiff
ANTHONY G. FERRETTI, JR. hereby certifies that on March 2,
2018 a copy of this Court’s electronic order was served on
Beach Club Maui, Inc., c/o Kevin Hoke and Noah D.
Silverman, Esq., on behalf of NCL, each by certified mail.
DATED: Wailuku, Maui, Hawaii, MAR 05 2018

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§AMES KRUEGER, ESQ.
Attorney for Plaintiff

 

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CERTIFICATE OF SERVICE

 

I hereby certify that on March 5, 2018 a copy
certificate of compliance/service was filed with the Clerk,
using CM/ECF, who will forward a copy to all counsel of
record.

DATED: Wailuku, Maui, Hawaii, MAR 0.5 2018

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